           Case 4:10-cr-00229-BRW Document 155 Filed 02/21/14 Page 1 of 1




                           IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION

UNITED STATES OF AMERICA

          vs                          4:10-CR-00229-02-BRW

MARCUS CLEOPHUS DORN

               ORDER MODIFYING CONDITIONS OF SUPERVISED RELEASE

          Court convened on Thursday, February 20, 2014, for a scheduled hearing on the

government’s motion to revoke supervised release (Doc. No. 151). Assistant United States

Attorney Edward O. Walker was present for the government. The defendant appeared in person

with his attorney, Assistant Federal Public Defender Kim Driggers. United States Probation

Officer Alexa Richards was also present.

          The defendant orally moved the Court to modify the current conditions of supervised

release. There being no objection from the government, the Court grants the oral motion.

Therefore, Mr. Dorn’s conditions of supervised release are modified to include:

       The defendant shall participate, if deemed necessary by the U.S. Probation Office,
in a substance abuse treatment program which may include testing, outpatient counseling,
and/or residential treatment. Further, the defendant shall abstain from the use of alcohol
throughout the course of treatment.

          All other conditions of supervised release imposed by this Court remain in full force and
effect.

          IT IS SO ORDERED this 21st day of February, 2014.


                                                    /s/Billy Roy Wilson
                                             UNITED STATES DISTRICT JUDGE
